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8                                 UNITED STATES DISTRICT COURT

9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10   LORENZO MAYS, RICKY                             Case No.: 2:18-cv-02081 TLN KJN P
     RICHARDSON, JENNIFER BOTHUN,
11   ARMANI LEE, LEERTESE BEIRGE, and
     CODY GARLAND, on behalf of
12   themselves and all others similarly situated,   FINDINGS AND
                                                     RECOMMENDATIONS RE:
13                      Plaintiffs,                  JOINT MOTION FOR
                                                     CLASS CERTIFICATION
14        v.
     COUNTY OF SACRAMENTO
15                                                   Complaint Filed: July 31, 2018
                        Defendant.
16
17          The parties filed a Joint Motion for Class Certification under Rules 23(a), 23(b)(1),

18   and 23(b)(2) of the Federal Rule of Civil Procedure, which came on for hearing before the

19   undersigned on November 29, 2018. After full consideration of the evidence, the parties’

20   arguments, and the authorities submitted by counsel, the undersigned recommends that

21   this action be maintained as a class action under Federal Rule of Civil Procedure Rule

22   23(a), 23(b)(1), and 23(b)(2), and recommends the parties’ Joint Motion for Class

23   Certification be granted.

24          The undersigned finds as follows:

25          1.      The numerosity, commonality, typicality, and adequacy requirements of Rule

26   23(a) are satisfied.

27          2.      The requirements under both Rule 23(b)(1) and Rule 23(b)(2) are satisfied.

28          3.      The action should be certified as a class action as to all claims and defenses
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1    at issue in the Complaint pursuant to Rules 23(a), 23(b)(1), and 23(b)(2) of the Federal
2    Rules of Civil Procedure.
3           4.      The undersigned recommends certification of the following classes:
4                   Plaintiff Class: All people who are now, or in the future will
                    be, incarcerated in the Sacramento County jails.
5
                    Plaintiff Subclass (the “Disability Class”): All qualified
6                   individuals with disabilities, as that term is defined in 42
                    U.S.C. § 12102, 29 U.S.C. § 705(9)(B), and California
7                   Government Code § 12926(j) and (m), who are, or will be in
                    the future, incarcerated in the Sacramento County jails.
8
9           5.      Plaintiffs MAYS, RICHARDSON, BOTHUN, LEE, BEIRGE, and
10   GARLAND be certified to serve as representatives of the Plaintiff Class and Disability
11   Subclass.
12          6.      Disability Rights California, the Prison Law Office, and Cooley LLP be
13   appointed as class counsel to represent the interests of the Plaintiff Class and Disability
14   Subclass. Fed. R. Civ. P. 23(c)(1)(B).
15          7.      Pursuant to Rule 23(c)(2)(A), the parties shall confer and, in their joint status
16   report to be filed on December 17, 2018, shall address the status of their proposed notice to
17   the Plaintiff Class and Disabilities Subclass, and the proposed method of distribution of
18   such notice.
19          These findings and recommendations are submitted to the United States District
20   Judge assigned to the case, pursuant to the provisions of 28 U.S.C. § 636(b)(l). Within
21   ten days after being served with these findings and recommendations, any party may file
22   written objections with the court and serve a copy on all parties. Such a document should
23   be captioned “Objections to Magistrate Judge’s Findings and Recommendations.” Any
24   response to the objections shall be filed and served within seven days after service of the
25   objections. The parties are advised that failure to file objections within the specified time
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27   ////
28   ////
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1    may waive the right to appeal the District Court’s order. Martinez v. Ylst, 951 F.2d 1153
2    (9th Cir. 1991).
3    Dated: November 30, 2018
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